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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

  UNITED STATES OF AMERICA                          §
                                                    §
  v.                                                §          CASE NO. 4:20-CR-212
                                                    §          Judge Mazzant/Judge Johnson
  DEBRA LYNN MERCER-ERWIN (1)                       §

                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the United States Magistrate Judge pursuant to

  28 U.S.C. § 636. On March 31, 2023, the report of the Magistrate Judge (Dkt. #350) was entered

  containing proposed findings of fact and recommendations that Defendant Debra Lynn Mercer-

  Erwin’s Motion to Suppress (Dkt. #321) be denied.

          Having received the report of the Magistrate Judge, and the Court having considered the

  Defendant’s timely filed objections (Dkt. # 386), this Court is of the opinion that the findings and

  conclusions of the Magistrate Judge are correct and adopts the Magistrate Judge’s report (Dkt.

. #350) as the findings and conclusions of the Court.

          It is, therefore, ORDERED that Defendant Debra Lynn Mercer-Erwin’s Motion to

  Suppress (Dkt. #321) is DENIED.

          IT IS SO ORDERED.
          SIGNED this 12th day of April, 2023.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
